     Case 1:21-cv-04373-SCJ-CMS Document 1 Filed 10/21/21 Page 1 of 15




                   IN THE UNITED STATES DISTRICT COURT
                    THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


CAREY A. MANDERS                              )
                                              )
                                              )
                                              )      CIVIL ACTION FILE NO.:
      Plaintiff,                              )      __________________
                                              )
v.                                            )
                                              )
                                              )
ALTISOURCE, INC.                              )
                                              )
                                              )
Defendant.                                    )


                                   COMPLAINT

      Plaintiff Carey A. Manders (the “Plaintiff” or “Ms. Manders”) respectfully

submits the following Complaint:

                                INTRODUCTION

      At all times relevant to this dispute, Altisource, Inc, (the “Defendant”) is an

integrated service provider and marketplace for the real estate and mortgage

industries. It has offices all across the world including Atlanta, Georgia.

                         JURISDICTION AND VENUE

      1.     Plaintiff’s claims under the Fourteenth Amendment of the U.S.

Constitution, actionable under 42 U.S.C. §1983, present federal questions over


                                          1
     Case 1:21-cv-04373-SCJ-CMS Document 1 Filed 10/21/21 Page 2 of 15




which the Court has subject matter jurisdiction under 28 U.S.C. § 1331. This

Court has supplemental jurisdiction over the Plaintiff’s state law claims under 28

U.S.C. § 1367.

      2.      This court is a proper venue of the Plaintiff’s claims under 28 U.S.C.

1391(b), because the Defendant resides in the Northern District of Georgia and

because the unlawful conduct giving rise to these claims occurred in this District.

                                  THE PARTIES

      3.      The Defendant is a multi-national company with offices in different

regions of the world including Atlanta, Georgia. The Defendant’s address in

Atlanta, Georgia is 1000 Abernathy Road NE, Atlanta, Georgia 30328. The

Defendant employs about 22,000 people in the Atlanta area.

      4.      The Plaintiff is a black African woman who is originally from Kenya.

      5.      The Plaintiff’s employment with the Defendant was terminated as of

      April 6, 2020.

      6.      She was treated differently and less favorably from similarly situated

employees who were not in her protected class.

      7.      She was and remains qualified to work as a real estate broker and an

auctioneer.




                                          2
     Case 1:21-cv-04373-SCJ-CMS Document 1 Filed 10/21/21 Page 3 of 15




                           FACTUAL ALLEGATIONS

      8.     The Plaintiff began working for the Defendant in May 2015 as a real

estate broker and an auctioneer.

      9.     The Plaintiff was one of only two broker-auctioneers with the

Defendant.

      10.    She was an exemplary employee on all accounts, with outstanding

performance reviews, was very well-liked, and was often selected by her

supervisors to spearhead new initiatives.

      11.    For instance, the Defendant regularly chose Ms. Manders for different

special projects that required top performers like the “high asset value” team which

was formed to help the Defendant regularly sell these high asset valued properties.

      12.    This project was a success with sales over $87.1 million in the first

twelve months.

      13.    When the Defendant needed ideas on how to launch a new service

which entailed marketing and selling certain kinds of assets, it called on the

Plaintiff to serve on the Hubzu team.

      14     The Hubzu team was tasked with finding creative ways to market and

sell these properties through the Hubzu platform.




                                            3
     Case 1:21-cv-04373-SCJ-CMS Document 1 Filed 10/21/21 Page 4 of 15




      15.    Upon information and belief, Plaintiff was the only broker handling

the entire portfolio for the state of New Mexico for two whole years without

incident and always was in compliance of all real estate regulations.

      16.    So, when a managerial position became available in the New Mexico

office, Ms. Manders expected she would be appointed to manage that office since

she was more than qualified for the position.

      17.    But, when the Defendant decided to fill the position, it gave the

position to a newly licensed broker in New Mexico, a white male, James Samsing.

      18.    The Plaintiff asked the Defendant several times over several months

why the job was ultimately given to Mr. Samsing but the Defendant never gave the

Plaintiff an answer.

      19.    Upon information and belief, the Plaintiff was never paid a salary

commensurate to her auctioneer experience and real estate broker experience.

      20.    There were always insinuations around the office that the brokers in

the Atlanta office were “not up to par” to the standards found in other offices of the

Defendant.

      21.    Upon information and belief, the brokers in Atlanta office (who were

Black) were paid substantially less than other brokers in the other offices of the

Defendant and did not receive all of the benefits that other brokers in other offices

were provided with as part of their employment.


                                          4
        Case 1:21-cv-04373-SCJ-CMS Document 1 Filed 10/21/21 Page 5 of 15




        22.   The Plaintiff’s manager, Mr. Samsing, constantly made snarky,

unprofessional remarks directed at her.

        23.   For instance, Mr. Samsing constantly made comments to the entire

team that the Plaintiff “had the audacity to make more money than him.”

        24.   Ms. Manders specifically raised concerns about a requirement by the

state of Hawaii that a broker-in-charge had to be at the state’s office location every

thirty (30) days if the brokerage is conducting business in Hawaii.

        25.   Upon information and belief, during May 2019, the Hawaii Real

Estate Commission performed an audit of the Defendant’s Hawaii operations and

found it was non-compliant with the broker-in-charge requirement.

        26.   The Plaintiff’s manager ignored her concerns and refused to act on the

information from the Hawaii Real Estate Commission.

        27.   As a result of the Hawaii Real Estate Commission’s audit, the

Defendant required Hawaii brokers to be present in the office every day.

        28.   Out of the four (4) brokers in Hawaii, only three (3), including the

Plaintiff, were scheduled to rotate weekly travel which put a huge strain on those

brokers since the prior rotation was monthly.

        29.   Furthermore, with the frequent trips to Hawaii, Plaintiff was expected

to pay for all expenses upfront and request reimbursement after completing each

trip.


                                           5
        Case 1:21-cv-04373-SCJ-CMS Document 1 Filed 10/21/21 Page 6 of 15




        30.   The expenses for each trip regularly exceeded her monthly pay and

she had to make these trips once every three weeks as required by the Defendant.

        31    Mr. Samsing and the other managers refused to approve any actions to

that would lighten her burdens.

        32.   Also, Mr. Samsing made the Plaintiff’s life far more difficult by

declining her reimbursement for her travel expenses to and from Hawaii six (6)

different times even though the reimbursements had already been approved by his

boss.

        33.   Mr. Samsing also would regularly remark on “how nice it must be to

be sent to Hawaii to work out of a hotel on Waikiki Breach” and that “he should in

fact get a Hawaii license” so he could begin regular trips to Hawaii.

        34.   Furthermore, Mr. Samsing and his manager, Mr. Mason Legendre,

continued to refuse to approve Plaintiff’s reimbursements for her trips to Hawaii

even though (i) she provided all of the requested information; and (ii) no one else

had to face protracted back-and-forth conversations with senior management.

        35.   Furthermore, Plaintiff and Courtney Mitchell Reed, a broker in

Tennessee (“Ms. Reed”), were licensed in the state of Hawaii and both women

took turns (along with two other broker) going to Hawaii to handle the Defendant’s

business on a weekly basis.




                                          6
     Case 1:21-cv-04373-SCJ-CMS Document 1 Filed 10/21/21 Page 7 of 15




      36.      As the coronavirus was started to spread across the country, the

Defendant made a decision not to send Ms. Reed to Hawaii because she needed to

be protected from the coronavirus.

      37.      But the Defendant insisted the Plaintiff continue to travel to Hawaii.

      38.      This was even after the Plaintiff protested the decision to continue

traveling with COVID-19, which was exposing her and other people to all kinds of

infections and other health concerns.

      39.      The Defendant also chose to focus on several incidents where

Plaintiff’s “unapproved leaves of absences” during October 2018, February 10 –

February 26, 2020, and March 18 – March 27, 2020.

      40.      For instance, during her grandmother’s critical illness and general

decline in her health, Ms. Manders found herself dealing with heart palpitations

and anxiety.

      41.      The Plaintiff was driven to the hospital where she was immediately

admitted into the hospital.

      42.      Before the nurses took away her cellphone number and other

electronic devices, Plaintiff had the presence of mind to contact her qualified

broker, Ms. Summer Frazier (“Ms. Frazier”), tell her she was being admitted to the

hospital, and handed over to Ms. Frazier all of the information she felt other

brokers would need to take over any sales going on.


                                            7
     Case 1:21-cv-04373-SCJ-CMS Document 1 Filed 10/21/21 Page 8 of 15




      43.    The Plaintiff specifically told Ms. Frazier to inform Mr. Samsing of

her hospitalization, which Ms. Frazier did.

      44.    Mr. Samsing instead chose to make the statement “I see Carey is

MIA” during a team meeting in front of the Plaintiff’s colleagues.

      45.    The Plaintiff was hospitalized for a week or so.

      46.    However, when Plaintiff returned to work a week later, the Defendant

told her to not log into any company system until she provided a doctor’s note

documenting her time off.

      47.    Upon her return she spoke to a couple of senior leaders and one of

them suggested she have a meeting with the brokerage Director Mason Legendre

in hopes of gaining some understanding as to why she was getting such unfair and

cruel treatment.

      48.    The meeting was scheduled for Tuesday. March 2, 2020, which was a

day before she was scheduled to fly to Hawaii for company business.

      49.    On March 3, 2020, Plaintiff was sent off to Hawaii to transact the

Respondent’s business while coronavirus/COVID-19 was starting to spread.

      50.    The Plaintiff protested to Mr. Samsing and his boss, Mr. Legendre,

about the unnecessary risks in sending her (or any other broker) to Hawaii, but they

were adamant in requiring her to continue going to Hawaii.




                                         8
     Case 1:21-cv-04373-SCJ-CMS Document 1 Filed 10/21/21 Page 9 of 15




      51.    Plaintiff was contacted by the state of Hawaii on March 18, 2020, to

inform her that she had been exposed to the virus.

      52.    On March 19, 2020, Ms. Manders informed her managers she needed

a few days to get tested since she was experiencing symptoms of COVID-19.

      53.    On March 20, 2020, she found an urgent care facility where tests

could be conducted.

      54.    While in the waiting room of the urgent care facility, she received an

e-mail from Aleesha Barber informing her that since she was working remotely,

she should be able to return to work ‘without skipping a beat.’”

      55.    However, while the Plaintiff was following the doctor’s orders to

quarantine for two weeks, she received a telephone call from Mr. Samsing on April

6, 2020, during which she was informed she was being laid off due to “the lack of

work.”

      56.    The Defendant claims the Plaintiff was terminated on account of her

“substandard performance.”

      57.    It also claimed Plaintiff was terminated “in response to the

pandemic.”

      58.    At the same time, Defendant claimed the Plaintiff was let go due to “a

lack of work” as stated on her separation notice filed with the Georgia Department

of Labor.


                                          9
     Case 1:21-cv-04373-SCJ-CMS Document 1 Filed 10/21/21 Page 10 of 15




      59.       The Defendant’s varying reasons are clearly indicative of acting under

a pretext.

      60.       Plaintiff believes her termination was on account of race and national

origin but the Defendant used “a lack of work” and “substandard performance” as

the pretexts.

      61.       But, if that were the case, there would have been a clear history in the

Defendant’s records showing such substandard performance including write-ups

and admonitions from her superiors highlighting such “substandard performance”.

      62.       There also would be oral and written records of conversations,

performance improvement plans, etc. of the Plaintiff’s job performance.

      63.       These records simply do not exist or else the Defendant would have

presented them to the EEOC as part of its response to the Plaintiff’s charge of

discrimination.

                              Punitive Damages Allegations

      64.       Defendant undertook all of the above-pled unlawful conduct

intentionally, willfully, and maliciously with respect to the Plaintiff and her

federally protected rights.

      65.       Additionally, and in the alternative, the Defendant undertook all of the

above-pled conduct with reckless disregard for the Plaintiff and her federally

protected rights.


                                            10
     Case 1:21-cv-04373-SCJ-CMS Document 1 Filed 10/21/21 Page 11 of 15




                                   COUNT I
            Race Discrimination and National Origin Discrimination
                     (42 U.S.C. § 1983 against Defendant)

      66.    Plaintiff incorporates each of the above factual allegations as if

restated here.

      67.    The Equal Protection Clause of the Fourteenth Amendment to the

Constitution of the United States of America entitles the Plaintiff to equal

protection under the laws regardless of her race.

      68.    Defendant violated the Plaintiff’s rights to equal protection by, among

other things subjecting her to a racially discriminating environment.

      69.    Furthermore, Defendant violated the Plaintiff’s equal protection rights

by failing to take any preventative and/or corrective measures with respect to the

discriminatory behavior.

      70.    As a direct and proximate result of all of the Defendant’s actions, the

Plaintiff suffered damages including emotional distress, inconvenience, loss of

income and benefits, and other indignities.

                                     COUNT II

                     Punitive Damages O.C.G.A. § 51-12-5.1

                              (Against the Defendant)

      71.    Plaintiff re-alleges the preceding paragraphs as if fully set forth

herein.


                                          11
      Case 1:21-cv-04373-SCJ-CMS Document 1 Filed 10/21/21 Page 12 of 15




       72.   The Defendant’s above-pled actions were willful, malicious, and

oppressive within the meaning of O.C.G.A. § 51-12-5.1(b).

       73.   Additionally, and in the alternative, Defendant’s actions display

within the meaning of that statute, an entire want of care indicative of a conscious

indifference to its actions’ consequences.

                                     COUNT III

                    Attorneys’ Fees and Expenses of Litigation

                   O.C.G.A. § 13-6-11 (Against the Defendant)

       74.   The Plaintiff re-alleges the preceding paragraphs as if fully set forth

herein.

       75.   The Defendant acted in bad faith, have been stubbornly litigious,

and/or caused the Plaintiff unnecessary trouble and expense in litigating this case,

and the Plaintiff is thus entitled to recover the expenses of this litigation, including

attorneys’ fees under Georgia law, including but not limited to O.C.G.A. § 13-6-

11.

                              PRAYER FOR RELIEF

       The Plaintiff respectfully requests the following relief:

       a.    A declaratory judgement that the Defendant violated the Plaintiff’s

rights under Title VII of the Civil Rights Act of 1964 and under the Equal




                                           12
     Case 1:21-cv-04373-SCJ-CMS Document 1 Filed 10/21/21 Page 13 of 15




Protection Clause of the Fourteenth Amendment of the Constitution of the United

States of America;

      b.     An injunction prohibiting the Defendant from engaging in such

unlawful conduct in the future;

      c.     Compensatory damages, in an amount to be determined by the jury,

for Plaintiff’s emotional distress, suffering, inconvenience, mental anguish, loss of

enjoyment of life, and special damages;

      d.     Punitive damages against the Defendant, in an amount to be

determined by the jury to be sufficient to punish the Defendant for its conduct

towards the Plaintiff and deter it from similar conduct in the future;

      e.     Reasonable attorneys’ fees and costs; and

      f.     Other and further relief as the Court deems just and proper.

PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL ISSUES SO

TRIABLE.

Respectfully submitted this Twenty-first Day of October 2021.

                                        SMITHERS + UME-NWAGBO, LLC

                                        /s/Nwabundo Ume-Nwagbo
                                        Nwabundo E. Ume-Nwagbo
                                        Georgia Bar No. 721655
                                        Telephone: 404-418-8492 x103
                                        Email: neu@stulawgroup.com

                                        2451 Cumberland Parkway, SE
                                        Suite 3836
                                          13
Case 1:21-cv-04373-SCJ-CMS Document 1 Filed 10/21/21 Page 14 of 15




                              Atlanta, GA 30339
                              Facsimile: 404-736-6063

                              Attorney for the Plaintiff




                                14
     Case 1:21-cv-04373-SCJ-CMS Document 1 Filed 10/21/21 Page 15 of 15




                         CERTIFICATE OF SERVICE


      I HEREBY CERTIFY that I have on this date, October 21st, 2021,

served a copy of the foregoing Complaint as COUNSEL OF RECORD FOR

PLAINTIFF, upon all parties counsel of record by depositing a true and correct

copy of same to the United States mail, with adequate postage thereon, and/or by

statutory electronic service and addressed as follows:

                                       Chiaman Wang
                                       Counsel
                                       Altisource Inc.
                                       1000 Abernathy Rd NE,
                                       Atlanta, GA 30328

Respectfully submitted dated Twenty-first Day of October, 2021.

                                       SMITHERS + UME-NWAGBO, LLC

                                       /s/Nwabundo Ume-Nwagbo
                                       Nwabundo E. Ume-Nwagbo
                                       Georgia Bar No. 721655
                                       Telephone: 404-418-8492 x103
                                       Email: neu@stulawgroup.com

                                       2451 Cumberland Parkway, SE
                                       Suite 3836
                                       Atlanta, GA 30339
                                       Facsimile: 404-736-6063

                                       Attorney for the Plaintiff




                                         15
